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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


P.J.E.S.,
a minor child, by and through
his father and next friend,
Mario Escobar Francisco,
on behalf of himself and
others similarly situated,

           Plaintiffs,

     v.                              Civ. Action No. 20-2245 (EGS)

CHAD F. WOLF,
Acting Secretary of
Homeland Security, et al.,

           Defendant.


                         MEMORANDUM OPINION

    Plaintiff P.J.E.S., a 15-year-old minor from Guatemala who

entered the United States as an unaccompanied minor in August

2020, brings this action against Chad F. Wolf in his official

capacity as Acting Secretary of Homeland Security and various

other federal government officials (“Defendants” or the

“Government”) for violations of the Administrative Procedure Act

(“APA”), 5 U.S.C. § 701 et seq.; the Trafficking Victims

Protection Reauthorization Act (“TVPRA”), 8 U.S.C. § 1232; the

Immigration and Nationality Act (“INA”), 8 U.S.C. § 1101 et

seq.; and the Foreign Affairs Reform and Restructuring Act of

1998 (“FARRA”), 8 U.S.C. § 1231 NOTE.

    Pending before the Court are Plaintiff’s motion for class
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certification (“Pl.’s Cert. Mot.”), ECF No. 21, and motion for a

classwide preliminary injunction (“Pl.’s Prelim. Inj. Mot.”),

ECF No. 15. Magistrate Judge Harvey’s Report and Recommendation

(“R. & R.”) recommends that this Court provisionally grant the

motion for class certification and grant the motion for

preliminary injunction and . See R. & R., ECF No. 65 at 2.

      The Government has objected to several of Magistrate Judge

Harvey’s recommendations. See Gov’t’s Objs., ECF No. 69. Raising

no objections to the R. & R., Plaintiff asks this Court to adopt

Magistrate Judge Harvey’s recommendations to grant both motions.

See Pl.’s Resp. to Pl.’s Objs. (“Pl.’s Resp.”), ECF No. 72 at 7.

Upon careful consideration of the R. & R., the Government’s

objections, Plaintiff’s response, and the relevant law, the

Court hereby ADOPTS the R. & R., ECF No. 65, PROVISIONALLY

GRANTS Plaintiff’s (1) Motion to Certify Class, ECF No. 2, and

GRANTS Plaintiff’s (2) Motion for Preliminary Injunction, ECF

No. 15.

I.    Background

      The factual background and procedural history in this case

are set forth in the R. & R. See R. & R., ECF No. 65 at 3-15.2


1 When citing electronic filings throughout this Opinion, the
Court cites to the ECF header page number, not the page number
of the filed document.
2 The Court accepts as true the allegations in the operative

complaint for purposes of deciding this motion, and construes
them in Plaintiff’s favor. See Baird v. Gotbaum, 792 F.3d 166,


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  A. Factual Background

       1. Pre-COVID-19 Pandemic

    Prior to the current COVID-19 pandemic and pursuant to the

TVPRA, unaccompanied children who entered the United States and

were nationals of countries that do not share a border with the

United States were required to be transferred to the care and

custody of the Department of Health and Human Services’ (“DHH”)

Office of Refugee Resettlement (“ORR”), within 72 hours of their

detainment, for placement in the “least restrictive setting that

is in the best interest of the child.” 8 U.S.C. § 1232(b).

Unaccompanied children from countries that share borders with

the United States were initially screened to determine that the

unaccompanied child: (1) was not a victim of trafficking; (2)

did not have “a credible fear of persecution”; and (3) was “able

to make an independent decision” about their admission into the

United States. Id. § 1232(a)(2)(A). Absent these determinations,

the unaccompanied child was also transferred to the care and

custody of ORR. Id. § 1232(a)(3). These unaccompanied children

also had access to “counsel to represent them in legal

proceedings or matters and protect them from mistreatment,

exploitation, and trafficking,” id. § 1232(c)(5); and some were




169 n.2 (D.C. Cir. 2015). The Government does not object to
Magistrate Judge Harvey’s recitation of the alleged facts.
See generally, Gov’t’s Objs., ECF No. 69.


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provided “independent child advocates . . . to effectively

advocate for the[ir] best interest.” Id. § 1232(c)(6).

    In addition, all unaccompanied children retained their

rights under the INA to (1) apply for asylum, id. § 1158(a)(1);

contest their removal to a country where their “life or freedom

would be threatened . . . because of [their] race, religion,

nationality, membership in a particular social group, or

political opinion,” id. § 1231(b)(3) (“withholding of removal”);

or, pursuant to FARRA, (3) make a case that “he or she would be

tortured if removed to the proposed country of removal.” Id. §

1231 Note.

       2. COVID-19 Pandemic and CDC Orders

    Since 1893, federal law has provided federal officials with

the authority to stem the spread of contagious diseases from

foreign countries by prohibiting, “in whole or in part, the

introduction of persons and property from such countries.” Act

of February 15, 1893, ch. 114, § 7, 27 Stat. 449, 452, ECF No.

15-5 at 5 (“1893 Act”). Under current law,

          Whenever the Surgeon General determines that
          by reason of the existence of any communicable
          disease in a foreign country there is serious
          danger of the introduction of such disease
          into the United States, and that this danger
          is so increased by the introduction of persons
          or property from such country that a
          suspension of the right to introduce such
          persons and property is required in the
          interest of the public health, the Surgeon
          General, in accordance with regulations


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          approved by the President, shall have the
          power to prohibit, in whole or in part, the
          introduction of persons and property from such
          countries or places as he shall designate in
          order to avert such danger, and for such
          period of time as he may deem necessary for
          such purpose.

42 U.S.C. § 265 (“Section 265”). In 1966, “the Surgeon General’s

§ 265 authority was transferred” to HHS, which in turn

“delegated this authority to the [Centers for Disease Control

(“CDC”)] in 2001 and [t]he President’s functions under § 265

were assigned to the Secretary of HHS in a 2003 executive

order.” Compl., ECF No. 1 at 13 n.2.

    On March 24, 2020, as the COVID-19 virus spread throughout

the country, the CDC issued a new regulation, pursuant to

Section 265, aiming to “provide[] a procedure for CDC to suspend

the introduction of persons from designated countries or places,

if required, in the interest of public health.” Control of

Communicable Diseases; Foreign Quarantine: Suspension of

Introduction of Persons Into United States From Designated

Foreign Countries or Places for Public Health Purposes, 85 Fed.

Reg. 16559-01, 2020 WL 1330968, (March 24, 2020) (“Interim

Rule”). The Interim Rule created Section 71.40 to “enable the

CDC Director to suspend the introduction of persons into the

United States” and stated, in relevant part,

          (b) For purposes of this section:

               (1) Introduction into the United States


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               of persons from a foreign country (or one
               or more political subdivisions or regions
               thereof) or place means the movement of
               a person from a foreign country (or one
               or more political subdivisions or regions
               thereof) or place, or series of foreign
               countries or places, into the United
               States so as to bring the person into
               contact with persons in the United
               States,   or   so   as   to    cause  the
               contamination of property in the United
               States, in a manner that the Director
               determines   to   present    a   risk  of
               transmission of a communicable disease to
               persons   or   property,   even   if  the
               communicable disease has already been
               introduced, transmitted, or is spreading
               within the United States;

               (2) Serious danger of the introduction of
               such communicable disease into the United
               States    means     the    potential    for
               introduction     of     vectors    of   the
               communicable disease into the United
               States, even if persons or property in
               the United States are already infected or
               contaminated    with     the   communicable
               disease; and

               (3) The term “Place” includes any
               location specified by the Director,
               including any carrier, as that term is
               defined in 42 CFR 71.1, whatever the
               carrier's nationality.

Id. at 16566-67. The CDC’s Interim Rule was made effective

immediately, “without advance notice and comment,” Compl., ECF

No. 1 at 13 ¶ 50; though the CDC explained that “[p]ursuant to 5

U.S.C. 553(b)(3)(B),” of the APA, HHS “conclude[d] that there

[was] good cause to dispense with prior public notice and the

opportunity to comment on this rule before finalizing this



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rule.” Interim Rule at 16564. Specifically, the CDC stated that

“[g]iven the national emergency caused by COVID-19, it would be

impracticable and contrary to the public health—and, by

extension, the public interest—to delay these implementing

regulations until a full public notice-and-comment process is

completed.” Id. at 16565. Finally, noting that Section 265

applied to “persons” in general, the CDC declared that the

“interim final rule [would] not apply to U.S. citizens or lawful

permanent residents . . . [because the] CDC believes that, at

present, quarantine, isolation, and conditional release, in

combination with other authorities, while not perfect solutions,

can mitigate any transmission or spread of COVID-19 caused by

the introduction of U.S. citizens or lawful permanent residents

into the United States.” Id. at 16564.

    Pursuant to the Interim Rule, the CDC Director issued an

order suspending the introduction of “covered aliens” which he

defined as “persons traveling from Canada or Mexico (regardless

of their country of origin) who would otherwise be introduced

into a congregate setting in a land Port of Entry [(“POE”)] or

Border Patrol station at or near the United States borders with

Canada and Mexico” for a period of 30 days. Notice of Order

Under Sections 362 and 365 of the Public Health Service Act

Suspending Introduction of Certain Persons From Countries Where

a Communicable Disease Exists, 85 Fed. Reg. 17060-02, 2020 WL


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1445906 (March 26, 2020) (“March Order”). The CDC Director found

the March Order necessary because the public health risks

          include[d] transmission and spread of COVID-
          19 to [U.S. Customs and Border Protection
          (“CBP”)] personnel, U.S. citizens, lawful
          permanent residents, and other persons in the
          POEs and Border Patrol stations; further
          transmission and spread of COVID-19 in the
          interior; and the increased strain that
          further transmission and spread of COVID-19
          would put on the United States healthcare
          system and supply chain during the current
          public health emergency.

Id. at 17061. In a section titled “Determination and

Implementation,” the March Order declared that “[i]t is

necessary for the public health to immediately suspend the

introduction of covered aliens” and “require[d] the movement of

all such aliens to the country from which they entered the

United States, or their country of origin, or another location

as practicable, as rapidly as possible.” Id. at 17067. The CDC

Director then “requested that DHS implement th[e] [March Order]

because CDC does not have the capability, resources, or

personnel needed to do so” and then notes that “CBP [had

already] developed an operational plan for implementing the

order.” Id. In April, the March Order was extended another 30

days. See Extension of Order Under Sections 362 and 365 of the

Public Health Service Act; Order Suspending Introduction of

Certain Persons From Countries Where a Communicable Disease

Exists, 85 Fed. Reg. 22424-01, 2020 WL 1923282 (April 22, 2020)


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(“April Order”). The March Order was extended again on May 20,

2020 and amended to “clarify that it applies to all land and

coastal [POEs] and Border Patrol stations at or near the United

States' border with Canada or Mexico that would otherwise hold

covered aliens in a congregate setting.” Amendment and Extension

of Order Under Sections 362 and 365 of the Public Health Service

Act; Order Suspending Introduction of Certain Persons From

Countries Where a Communicable Disease Exists, 85 Fed. Reg.

31503-02, 31504, 2020 WL 2619696 (May 26, 2020) (“May Order”).

The May Order also extended the duration of the order until the

CDC Director “determine[s] that the danger of further

introduction of COVID-19 into the United States has ceased to be

a serious danger to the public health,” though the CDC would

still conduct a recurring 30-day review. Id. Finding that: (1)

the CDC Order had “significantly mitigated the specific public

health risk identified in the initial Order by significantly

reducing the population of covered aliens held in congregate

settings in POEs and Border Patrol stations,” id. at 31505; and

(2) “due to their lack of legal immigration status, there is

significant uncertainty that covered aliens would be able to

effectively self-quarantine, self-isolate, or otherwise comply

with existing social distancing guidelines, if they were

conditionally released,” id. at 31508; the CDC Director

requested that DHS “continue to implement the operational plan


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developed to carry out the” March and April Orders, id. The

Court will refer to the process developed by the CDC and

implemented by the March, April, and May Orders as the “CDC

Orders.”3

      As noted above, the CBP had already developed its plan to

implement the March Order and issued a memorandum on April 2,

2020 establishing its procedures for implementing the order. See

Compl., ECF No. 1 at 17 ¶ 65; see also COVID-I9 CAPIO, ECF No.

15-5 at 15 (“CAPIO Memo”). Specifically, the CAPIO Memo

instructed that when implementing the CDC Orders, agents may

determine whether individuals are subject to the CDC Orders

“Based on training, experience, physical observation,

technology, questioning and other considerations.” CAPIO Memo,

ECF No. 15-5 at 15. If an individual was determined to be

subject to the CDC Orders, they were to be “transported to the

nearest POE and immediately returned to Mexico or Canada

depending on their point of transit.” Id. at 17. The CAPIO Memo,

“provide[d] no instructions on medical screenings or other

procedures for determining whether a covered noncitizen may have

COVID-19,” Compl., ECF No. 1 at 17 ¶ 68; and did “not exempt

minors from forcible expulsion,” id. at 18 ¶ 69.


3 Plaintiff refers to the process under 42 U.S.C. § 265 as the
“Title 42 Process,” see Pl.’s Prelim. Inj. Mot., ECF No. 15;
while the Government refers to it as the “CDC Order.” See
Gov’t’s Combined Opp’n, ECF No. 42 at 12.


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     On September 11, 2020, the CDC published its final rule.

See Control of Communicable Diseases; Foreign Quarantine:

Suspension of the Right To Introduce and Prohibition of

Introduction of Persons Into United States From Designated

Foreign Countries or Places for Public Health Purposes, 85 Fed.

Reg. 56424-01, 2020 WL 5439721, (Sept. 11, 2020) (Effective

October 13, 2020) (“Final Rule”). The Final Rule, which

references this case but makes no changes to its determinations

and findings as relevant for this action, see id. at 56437,

states “[i]t has long been recognized that ‘where a general

power is conferred or duty enjoined, every particular power

necessary for the exercise of the one, or the performance of the

other, is also conferred.’” Id. at 56445. It further states that

“HHS/CDC identifies particular powers that it may exercise under

[Section 265] by defining the phrase to ‘[p]rohibit, in whole or

in part, the introduction into the United States of persons’ to

mean ‘to prevent the introduction of persons into the United

States by suspending any right to introduce into the United

States, physically stopping or restricting movement into the

United States, or physically expelling from the United States

some or all of the persons.’” Id.

       3. CDC Orders’ Effect on Plaintiff

     Plaintiff is a 16-year-old boy from Guatemala, who entered

the United States in August 2020, was apprehended by CBP and


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initially held in CBP custody in McAllen, Texas, before he was

made subject to expulsion pursuant to the CDC Orders and CAPIO

Memo. See id. at 19 ¶¶ 77, 81. His father lives in the United

States and has a pending immigration case. See id. ¶ 78.

Plaintiff is from “an indigenous Mayan family” and alleges to

have (1) “experienced severe persecution in Guatemala” due to

his father’s political opinions; and (2) had his life threatened

due to his refusal to join a gang. Id. ¶ 79. He states that, if

he is “allowed to remain in the United States, he could live

with his father . . . or another suitable sponsor.” Id. ¶ 84.

Further, Plaintiff asserts that, “even if [he is] required to

first reside for a short time in a[n] ORR children[’s] shelter,

he could do so safely . . . [because] ORR facilities [] have

experience with communicable diseases . . . [and] are currently

well under capacity, [which would allow for] social distancing

and quarantine[ing].” Id. at 20 ¶ 85. Plaintiff alleges that,

instead of remaining in CBP custody, he “could have been

transferred directly to his father or another sponsor or to an

ORR shelter, [and] he would [have] pose[d] minimal, if any,

additional risk to border agents.” Id. ¶ 88. On August 14, 2020,

after Plaintiff filed this action and a motion for class

certification, the Government exempted him from the CDC Orders.

See Escobar Francisco Decl., ECF No. 14-1 at 2 ¶ 11.




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       4. CDC Orders’ General Effect on Unaccompanied Children

     Plaintiff alleges that unaccompanied children have “been

required to remain in DHS custody longer than the time it would

have taken to transfer them to their family members or to an ORR

facility,” Compl., ECF No. 1 at 20 ¶ 89; and that “arranging for

air transport to deport individuals will generally take longer

than time in which DHS must transfer children to ORR or family

members.” Id. at 21 ¶ 90. He further alleges that some

unaccompanied “children are held for days or weeks in hotels

[as] they await flights back to their home countries, [while]

[o]thers are detained in CBP facilities near the border,

reportedly held in cage-like settings with other children.” Id.

¶ 91. Finally, Plaintiff states,

          Unaccompanied children subject to the [CDC
          Orders] face numerous problems accessing legal
          representation. Because children can be
          expelled under Title 42 in a matter of days,
          the child or any family member who obtains
          information about the child has only a limited
          amount of time in which to advocate for the
          child. And because the [] Process [pursuant to
          the CDC Orders] has operated largely in
          secret, its rules and procedures have remained
          opaque to children, their parents, and any
          lawyers and advocates who seek to help them.
          Unaccompanied children are also unable, by
          reason of their youth, to advocate effectively
          for themselves, especially when detained in
          custodial settings by government officers.
          Many do not speak English, and lack even a
          basic comprehension of the U.S. legal system.
          Their relatives are similarly not well-
          situated to help navigate this process,
          especially given the time constraints; many


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           children are from families in which few
           members have had significant formal schooling,
           much less any fluency in English.

Id. at 21-22 ¶ 93. At the time he filed his motion for

preliminary injunction, Plaintiff alleged that the DHS had

“already expelled at least 2,000 unaccompanied children pursuant

to the CDC Order[s],” Pl.’s Prelim. Inj. Mem., ECF No. 15-1 at

10; but Plaintiff now alleges that the number of expelled

unaccompanied children had “exceeded 13,000 by the end of

October.” Pl.’s Notice of November 17, 2020, ECF No. 78.4

    B. Procedural Background

      Plaintiff filed this action on August 14, 2020, see Compl.,

ECF No. 1; and a motion for class certification, see Pl.’s Cert.

Mot., ECF No. 2, that same day. On August 20, 2020, Plaintiff

filed a motion for a classwide preliminary injunction. See Pl.’s

Prelim. Inj. Mot., ECF No. 15. The Government filed its Combined

Opposition to Plaintiff’s Motions for Class Certification and

for Classwide Preliminary Injunction (“Gov’t’s Combined Opp’n”)

on September 8, 2020, see Gov’t’s Combined Opp’n, ECF No. 42;

and Plaintiff filed his Combined Reply Memorandum in Support of

Motions for Classwide Preliminary Injunction and Class




4 Citing to Hamed Aleaziz, Border Officials Turned Away
Unaccompanied Immigrant Children More Than 13,000 Times Under
Trump’s Pandemic Policy, BuzzFeed News (Oct. 28, 2020),
https://www.buzzfeednews.com/article/hamedaleaziz/border-
officials-turned-away-unaccompanied-immigrants.


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Certification (“Pl.’s Combined Reply”) on September 15, 2020.

Pl.’s Combined Reply, ECF No. 52.

        Magistrate Judge Harvey, having been referred Plaintiff’s

motions and this case for full case management, issued his R. &

R. on September 25, 2020. See R. & R., ECF No. 65; see also

Sept. 6, 2020 Min. Order. The Government submitted objections to

the R. & R. on October 2, 2020, see Gov’t’s Objs., ECF No. 69;

Plaintiff filed his Response to the Government’s Objections on

October 9, 2020, see Pl.’s Resp., ECF No. 72; and the Government

filed its Reply to Plaintiff’s Response to the Government’s

Objections (“Gov’t’s Objs. Reply”) on October 14, 2020, see

Gov’t’s Objs. Reply, ECF No. 75. The objections are ripe and

ready for the Court’s adjudication.

II.     Legal Standards

  A. Objections to a Magistrate Judge’s Report and
     Recommendation

        Pursuant to Federal Rule of Civil Procedure 72(b), a party

may file specific written objections once a magistrate judge has

entered a recommended disposition. Fed. R. Civ. P. 72(b)(1)-(2).

A district court “may accept, reject or modify the recommended

disposition.” Fed. R. Civ. P. 72(b)(3); see also 28 U.S.C. §

636(b)(1) (“A judge of the court may accept, reject, or modify,

in whole or in part, the findings or recommendations made by the

magistrate judge.”). A district court “must determine de novo



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any part of the magistrate judge’s disposition that has been

properly objected to.” Fed. R. Civ. P. 72(b)(3).“If, however,

the party makes only conclusory or general objections, or simply

reiterates his original arguments, the Court reviews the [R. &

R.] only for clear error.” Houlahan v. Brown, 979 F. Supp. 2d

86, 88 (D.D.C. 2013) (citation omitted). “Under the clearly

erroneous standard, the magistrate judge’s decision is entitled

to great deference” and “is clearly erroneous only if on the

entire evidence the court is left with the definite and firm

conviction that a mistake has been committed.” Buie v. D.C., No.

CV 16-1920 (CKK), 2019 WL 4345712, at *3 (D.D.C. Sept. 12, 2019)

(citing Graham v. Mukasey, 608 F. Supp. 2d 50, 52 (D.D.C. 2009))

(internal quotation marks omitted).

     Objections must “specifically identify the portions

of the proposed findings and recommendations to which objection

is made and the basis for objection.” LCvR 72.3(b).“[O]bjections

which merely rehash an argument presented to and considered by

the magistrate judge are not ‘properly objected to’ and are

therefore not entitled to de novo review.” Shurtleff v. EPA, 991

F. Supp. 2d 1, 8 (D.D.C. 2013) (quoting Morgan v. Astrue, No.

08-2133, 2009 WL 3541001, at *3 (E.D. Pa. Oct. 30,2009)).

  B. Preliminary Injunction

     “A plaintiff seeking a preliminary injunction must

establish [1] that he is likely to succeed on the merits, [2]


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that he is likely to suffer irreparable harm in the absence of

preliminary relief, [3] that the balance of equities tips in his

favor, and [4] that an injunction is in the public interest.”

Aamer v. Obama, 742 F.3d 1023, 1038 (D.C. Cir. 2014) (alteration

in original) (quoting Sherley v. Sebelius, 644 F.3d 388, 392

(D.C. Cir. 2011)). Where the federal government is the opposing

party, the balance of equities and public interest factors

merge. See Nken v. Holder, 556 U.S. 418, 435 (2009). A

preliminary injunction is an “extraordinary remedy that may only

be awarded upon a clear showing that the plaintiff is entitled

to such relief.” Winter v. Nat. Res. Def. Council, Inc., 555

U.S. 7, 22 (2008) (citation omitted). “The purpose of a

preliminary injunction is merely to preserve the relative

positions of the parties until a trial on the merits can be

held.” Univ. of Tex. v. Camenisch, 451 U.S. 390, 395 (1981). In

this Circuit, the four factors have typically been evaluated on

a “sliding scale,” such that if “the movant makes an unusually

strong showing on one of the factors, then it does not

necessarily have to make as strong a showing on another factor.”

Davis v. Pension Benefit Guar. Corp., 571 F.3d 1288, 1291–92

(D.C. Cir. 2009).

     In the wake of the Supreme Court’s decision in Winter v.

Natural Resources Defense Council, 555 U.S. 7 (2008), “the D.C.

Circuit has suggested that a positive showing on all four


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 preliminary injunction factors may be required.” Holmes v. FEC,

 71 F. Supp. 3d 178, 183 n.4 (D.D.C. 2014); see also Sherley, 644

 F.3d at 393 (“[W]e read Winter at least to suggest if not to

 hold that a likelihood of success is an independent,

 freestanding requirement for a preliminary injunction.”)

 (citation and quotation marks omitted)). Nonetheless, “the

 Circuit has had no occasion to decide this question because it

 has not yet encountered a post-Winter case where a preliminary

 injunction motion survived the less rigorous sliding-scale

 analysis.” ConverDyn v. Moniz, 68 F. Supp. 3d 34, 46 n.2 (D.D.C.

 2014).

III.     Analysis

         Before proceeding to its analysis, the Court observes that

 another court in this District recently examined CBP’s new

 process pursuant to the CDC Orders, in a case with facts similar

 to those before this Court. In J. B. B. C. v. WOLF, et al.,

 Docket No. 20-cv-1509 (D.D.C. filed June 9, 2020), the

 plaintiff, a 16-year-old boy from Honduras, whose father also

 lives in the United States and had a pending asylum case, was

 apprehended by CBP when he entered the country near El Paso,

 Texas and made subject to expulsion pursuant to the CDC Orders

 and CAPIO Memo. J. B. B. C. Compl., Dkt No. 20-cv-1509, ECF No.

 1 at 19-20 ¶¶ 76-80. At the time he filed his complaint, the

 plaintiff in J. B. B. C., had been in a hotel for five days as


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CBP moved under the new process to place him on a flight to

Honduras. Id. ¶¶ 83-84. Since his expulsion was imminent, he

filed a motion for temporary restraining order (“T.R.O.”) that

same day, presenting many of the same arguments as presented in

this case. See generally, J. B. B. C. Emergency Mot. for T.R.O.,

ECF No. 2. At a June 24, 2020 hearing, Judge Nichols granted the

TRO, finding that the J. B. B. C. plaintiff was likely to

succeed on the merits. J. B. B. C. Hr’g Tr., Dkt No. 20-cv-1509,

ECF No. 39 at 49-50.

  Specifically, Judge Nichols found that: (1) Section 265 does

not grant the CDC Director the power to return or remove, in

light of the fact that immigration statutes directly “reference

the power to return or to remove,” id. at 50; (2) Section 265

“should be harmonized, to the maximum extent possible, with

immigration statutes,” id.; and (3) the CDC Director is not

entitled to deference under Chevron, USA, Inc. v. Nat. Res. Def.

Council, Inc., 467 U.S. 837, 842-43 (1984), because Section 265

must be “read in light of statutes that the CDC Director quite

plainly has no special expertise regarding and . . . the order

does very little by way of an analysis of what exactly the power

to prohibit the introduction of persons and property means,” id.

at 51-50. Notably, after Judge Nichols’s ruling, the Government

transferred the J. B. B. C. plaintiff to ORR, noting that he

would “no longer be subject to the challenged CDC Order” and


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claimed that the case was moot. J. B. B. C. Notice to Ct., Dkt

No. 20-cv-1509, ECF No. 41 at 1. When the J. B. B. C. plaintiff

filed an amended complaint, adding another plaintiff, E.Y.E., a

15-year-old boy from Guatemala, who claimed to be escaping an

abusive grandfather and aunt, and who had siblings in the United

States who had been granted asylum the previous year based on

similar claims, the Government excepted him from the CDC Orders

as well. See J. B. B. C. Mot. to Dismiss, Dkt No. 20-cv-1509,

ECF No. 47 at 9. The J. B. B. C. plaintiffs then voluntarily

dismissed the case. See J. B. B. C. Notice of Voluntary

Dismissal, Dkt No. 20-cv-1509, ECF No. 48.

  A. Plaintiff’s Motion for Class Certification

     Pursuant to Federal Rules of Civil Procedure 23(a) and

23(b)(2), Plaintiff has sought certification of the following

class: All unaccompanied noncitizen children who (1) are or will

be detained in U.S. government custody in the United States, and

(2) are or will be subjected to the Title 42 Process (“Subject

Class”). Pl.’s Cert. Mot., ECF No. 2 at 1.

     Magistrate Judge Harvey found that Plaintiff’s motion for

class certification should be provisionally granted because

Plaintiff met the: (1) numerosity requirement by providing

evidence that almost 6,000 unaccompanied non-citizen children

were apprehended at the southwest border between April and July

2020, [and] more than 2,000 unaccompanied non-citizen children


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had been expelled, R. & R., ECF No. 65 at 17; (2) commonality

requirement because the challenged CDC Orders are a “a uniform

policy or practice that affects all class members,” id. at 18;

(3) typicality requirement since Plaintiff’s claims and the

claims of the putative class “stem from a unitary course of

conduct—expulsion of unaccompanied non-citizen children” under

the CDC Orders and “are based on the same legal theories,” id.

at 19; (4) adequacy requirement because, citing to JD v. Azar,

925 F.3d 1291, 1322 (D.C. Cir. 2019) (per curiam), the

“Plaintiff is an adequate class representative who, with his

counsel, will vigorously pursue the claims of the putative

class,” id. at 21; and the cohesiveness requirement because the

Government allegedly applied the same illegal CDC Orders to the

Plaintiff and Subject Class, and the Plaintiff and Subject Class

seek the same relief, see id. at 22.

     The Government’s only objection to Magistrate Judge

Harvey’s recommendation is that the case upon which he relied—

J.D. v. Azar-was wrongly decided because allowing a Plaintiff

whose claims are moot to serve as a class representative “is an

improper relaxation of Article III’s strict requirement of a

case or controversy.” Gov’t’s Objs., ECF No. 69 at 38.

     However, J.D. v. Azar is binding precedent on this Court.

See Hopkins v. Price Waterhouse, 920 F.2d 967, 975 (D.C. Cir.

1990)(“[T]he trial court . . . [is] nonetheless bound by the law


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of the circuit.”). Furthermore, the actions the Government has

taken to avoid judicial scrutiny by mooting the claims of the

unaccompanied children, Plaintiff’s counsel bring to their

attention, arguably reveals an intent to make Plaintiff’s claim

“so inherently transitory that the [Court] will not have []

enough time to rule on [the] motion for class certification

before the proposed representative's individual interest

expires.” J.D., 925 F.3d at 1309. However, the “relation back”

doctrine, which allows a “motion for certification [to] ‘relate

back’ to the filing of the complaint,” id. at 1308; was created

so that a class would not be deprived of its day in court by a

defendant simply exempting the class representatives in order to

moot the class’ claims, see Cty. of Riverside v. McLaughlin, 500

U.S. 44, 51 (1991); see also Swisher v. Brady, 438 U.S. 204, 213

n.11 (1978) (holding that the State’s action of excepting some

of the named plaintiffs “did not deprive the District Court of

the power to certify the class action”). Having addressed the

Government’s sole objection to this recommendation, and finding

no clear error in this portion of the R. & R., the Court ADOPTS

Magistrate Judge Harvey’s recommendation, and PROVISIONALLY

GRANTS Plaintiff’s motion for class certification. Pl.’s Cert.

Mot., ECF No. 2.




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  B. Plaintiff’s Motion for Preliminary Injunction

     1. Plaintiff is likely to Succeed on the Merits

     Pursuant to Federal Rule of Civil Procedure 65 and Local

Civil Rule 65.1, Plaintiff seeks a “classwide preliminary

injunction enjoining the application of the [CDC Orders] to

Plaintiff and Class Members.” Pl.’s Prelim. Inj. Mot., ECF No.

15 at 1. Specifically, Plaintiff argues that he is likely to

succeed on the merits because (1) Section 265 “does not

authorize deportation”; (2) “unaccompanied children are entitled

to explicit statutory procedures and protections [and those]

later-enacted statutes control over whatever [Section] 265 may

authorize in general”; and (3) “subjecting Class Members to the

CDC Orders is arbitrary and capricious in violation of the” APA.

Pl.’s Prelim. Inj. Mem., ECF No. 15-1 at 21.

     Magistrate Judge Harvey found “that Plaintiff is likely to

prevail in his argument that the CDC Orders instituting the

Title 42 Process exceed the authority granted by Congress

pursuant to Section 265,” R. & R., ECF No. 65 at 24; noting that

the Government’s “parsing of the plain text of the statute makes

an unsupported (and unwarranted) logical leap . . . by asserting

that ‘[t]he statute’s reference to prohibiting the introduction

‘in whole or in part’ supports the interpretation that a person

may be intercepted and then quarantined in the United States or

intercepted and then expelled,’” id. at 25 (emphasis in


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original); see also Final Rule at 56425–26. The Government makes

a number of objections, which the Court addresses below.

     Chevron provides the framework for reviewing an agency’s

interpretation of a statute that the agency is charged with

administering. See 467 U.S. at 837. The first step in this

review process is for the court to determine “whether Congress

has directly spoken to the precise question at issue.” Id. at

842. “If the intent of Congress is clear, that is the end of the

matter; for the court, as well as the agency, must give effect

to the unambiguously expressed intent of Congress.” Id. at 842–

43. In determining whether the statute unambiguously expresses

the intent of Congress, the court should use all the

“traditional tools of statutory construction,” including looking

to the text and structure of the statute, as well as its

legislative history, if appropriate. See id. at 843 n.9; see

also Bell Atlantic Tel. Co. v. FCC, 131 F.3d 1044, 1047 (D.C.

Cir. 1997). If the court concludes that the statute is either

silent or ambiguous with respect to the precise question at

issue, the second step of the court’s review process is to

determine whether the interpretation proffered by the agency is

“based on a permissible construction of the statute.” Chevron,

467 U.S. at 843. The court must defer to agency interpretations

that are not “arbitrary, capricious, or manifestly contrary to

the statute.” Id. at 844.


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                   a. Section 265 Likely Does Not Authorize
                      Expulsions

     The Court first reviews “the language of the statute

itself.” United States Ass'n of Reptile Keepers, Inc. v. Zinke,

852 F.3d 1131, 1135 (D.C. Cir. 2017). Both Plaintiff and the

Government provide various definitions for the word

“introduction” and the phrase “prohibit . . . the introduction

of.” See Pl.’s Prelim. Inj. Mem., ECF No. 15-1 at 25-26 (citing

Introduce, Universal English Dictionary 1067 (John Craig ed.

1861) (the “term—'introduction’—meant then, as now, ‘the act of

bringing into a country.’”); Gov’t’s Combined Opp’n, ECF No. 42

at 29-30 (citing Universal English Dictionary 458 (John Craig

ed. 1869) (“to ‘prohibit . . . the introduction’ naturally means

to intercept or prevent such a process.”). The Government

further states the meaning of the word “prohibit” is “to forbid;

to interdict by authority; to hinder; to debar; to prevent; [or]

to preclude.” Gov’t’s Combined Opp’n, ECF No. 42 at 30 (citing

Prohibit, Oxford English Dictionary 1441 (1933)). Based on these

definitions, the Government argues that Section 265 “clearly

includes the authority to intercept persons who have already

crossed the border and are in the process of being introduced

into the United States.” Gov’t’s Objs., ECF No. 69 at 16.

     Magistrate Judge Harvey assumed without deciding that the

Government’s interpretation—intercepting or preventing a process



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was legally sound, finding that even if the court “accept[s]

that ‘to ‘prohibit . . . the introduction’ means ‘to intercept

or prevent such a process’, [it] does not lead to the conclusion

that ‘prohibition,’ ‘interception,’ or ‘prevention’ includes

‘expulsion.’” R. & R., ECF No. 65 at 25. Magistrate Judge Harvey

reasoned that to “prohibit” “connotes stopping something before

it begins, rather than remedying it afterwards.” Id. at 25-26.

     The Government argues that Magistrate Judge Harvey’s

reasoning—that “the Government’s interpretation is wrong because

the definition of ‘prohibit’ connote[s] stopping something

before it begins, rather than remedying it afterwards,” R. & R.,

ECF No. 65 at 25-26;—“makes no sense” because he “[a]ssumed

without deciding that the government’s interpretation of the

‘introduction’ and the phrase ‘prohibit . . . the introduction’

of are legally sound,” id. at 25; and since the CDC Order only

applies to persons who are in the process of being introduced

rather than already introduced, expelling them does not remedy

something afterwards because they have not been introduced, see

Gov’t’s Objs., ECF No. 69 at 17. The Court disagrees. Even

accepting that the phrase, “prohibit[ing] . . . the introduction

of,” means “intercepting” or “preventing”; the phrase does not

encompass expulsion; but merely means that the process of

introduction can be halted. Expelling persons, as a matter of

ordinary language, is entirely different from interrupting,


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intercepting, or halting the process of introduction.5 Put

another way, interrupting, intercepting, or halting the process

of introduction does inexorably lead to expulsion.

      Neither Section 265 nor any of the definitions provided by

the Government contain the word “expel.” They do not even

contain synonyms of the word expel, such as “eject” or “evict.”

See Synonyms for Expel, Merriam-Webster.com Dictionary, Merriam-

Webster, https://www.merriam-webster.com/dictionary/expel (last

visited Oct. 27, 2020). The Court finds this to be significant,

because even “broad rulemaking power must be exercised within

the bounds set by Congress,” Merck & Co. v. United States Dep't

of Health & Human Servs., 385 F. Supp. 3d 81, 92 (D.D.C. 2019),

aff'd, 962 F.3d 531 (D.C. Cir. 2020); and the CDC “does not

[have the] power to revise clear statutory terms,” Util. Air

Reg. Grp., 573 U.S. at 327. To be sure, as Plaintiff and

Magistrate Judge Harvey point out, “when Congress wants to grant

the power to expel individuals out of the United States, it does

so plainly.” R. & R., ECF No. 65 at 29. For example, in the

Chinese Exclusion Act of 1882, enacted only eleven years before

the 1893 Act, Congress was very explicit in its deportation


5 With regard to the Government’s objection to Magistrate Judge
Harvey finding support for this interpretation in the title of
Section 265: “Suspension of entries and imports from designated
places to prevent spread of communicable diseases,” 42 U.S.C. §
265; his point was that Section 265 does not address expulsion,
not the meaning of entry as a matter of immigration law.


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requirements, declaring “it shall not be lawful for any Chinese

laborer to come, or, having so come . . . ninety days [after the

Act], to remain within the United States.” Chinese Exclusion Act

of May 6, 1882, ch. 126, § 1 (emphasis added).

     Finally, the Government objects on the grounds that

Magistrate Judge Harvey’s interpretation leads to an absurd,

unworkable result because it results in Section 265 being

without effect at land borders. Gov’t’s Opp’n, ECF No. 69 at 18-

19. However, Magistrate Judge Harvey persuasively explained why

his interpretation does not result in Section 265 being without

effect at land borders. R. & R., ECF No. 65 at 36-38.

                   b. The Statutory Context Provides Support for
                      Interpreting Section 265 to Likely Not
                      Authorize Expulsions

     Since “statutory language cannot be construed in a vacuum,

. . . [i]t is a fundamental canon of statutory construction that

the words of a statute must be read in their context and with a

view to their place in the overall statutory scheme.” Davis v.

Michigan Dep't of Treasury, 489 U.S. 803, 809 (1989) (citing

United States v. Morton, 467 U.S. 822, 828 (1984)); see also K

Mart Corp. v. Cartier, Inc., 486 U.S. 281, 291 (1988) (“In

ascertaining the plain meaning of the statute, the court must

look to the particular statutory language at issue, as well as

the language and design of the statute as a whole.”). Plaintiff

argues that neither Section 265 nor “a neighboring provision


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laying out the ‘penalties’ for violation of ‘any regulation

prescribed’ under § 265 make any mention of such expulsion

authority.” Pl.’s Prelim. Inj. Mem., ECF No. 15-1 at 22 (citing

42 U.S.C. § 271). The Government contends that “the explicit

language in Section 265 authorizing the prohibition of persons

(or property) from ‘a foreign country’ to protect against ‘the

introduction of such disease into the United States’. . . [in]

context . . . clearly includes expulsion.” Gov’t’s Combined

Opp’n, ECF No. 42 at 31. Citing the CDC’s additional reliance on

“42 U.S.C. § 264 (‘Section 264’), entitled ‘Regulations to

control communicable diseases’” which authorizes the CDC “to

make and enforce such regulations . . . to prevent the

introduction, transmission, or spread of communicable diseases

from foreign countries into the States or possessions,”

Magistrate Judge Harvey looked to that adjacent Section and

found that it “does not contemplate regulations that authorize

expulsion from the United States. . . . [but] only regulations

that ‘provide for the apprehension, detention, or conditional

release of individuals.’” R. & R., ECF No. 65 at 27. Magistrate

Judge Harvey observed that “in a section where one would expect

the term to appear—where Congress has delineated the

government’s power to prevent the spread of contagious disease

from individuals coming into the United States from a foreign

country—it does not.” Id. at 27-28.


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     The Government points to the rule of statutory construction

that requires a statute to be construed in a manner such that

particular construction does not render another provision

superfluous to argue that Magistrate Judge Harvey’s reasoning

was flawed because if Section 264 authorized expulsion, Section

265 would be superfluous. Gov’t’s Opp’n, ECF No. 69 at 20. The

Court disagrees. That “Section 264 does not contemplate

regulations that authorize expulsion from the United States,” R.

& R., ECF No. 65 at 27; provides contextual support for

interpreting Section 265 to not provide authority to expel

persons. Plaintiffs have conceded that Section 265 vests the

government with significant “authority to bar entry into the

country, at least through the regulation of vessels (including

airplanes) arriving in the United States.” R. & R., ECF No. 65

at 36. Accordingly, interpreting Section 265 to not authorize

expulsions does not render the provision superfluous.

     In addition, the Government also argues that Magistrate

Judge Harvey erred when he concluded that Congress could not

have delegated the authority by silence by not expressly

providing for expulsion authority in Section 265 because that

section expressly delegated the power to issue regulations that

accomplish its purpose. Gov’t’s Obj., ECF No. 69 at 20. The

Government’s argument is beside the point; if Section 265 does

not provide the authority to expel persons; then it does not


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delegate the authority to issue regulations to expel persons.

      The Government further argues that just because this is the

first time it has claimed that Section 265 provides it with the

authority to expel persons since the provision was enacted 75

years ago does not mean that it does not have such authority.

Id. The Government cites the historic and unprecedented nature

of the pandemic and the legislative history of the Section 265

to argue that if “Section 265 authority is sparingly used only

tracks the extraordinary nature of the authority and the fact

that it is very rarely needed.” Id. at 22. The Court agrees that

the undisputed authority granted in Section 265 is extraordinary

and that the COVID-19 pandemic is unprecedented. But that is

entirely distinguishable from whether or not Section 265

authorizes the Government to expel persons. The Court also notes

that the legislative history cited by the Government provides

not support for its position that Section 265 authorizes it to

expel persons.6

      Beyond Section 264, Magistrate Judge Harvey noted that the

“statute is shot through with references to quarantine . . . but



6 The Government also argues that the situation here is
distinguishable from the newly discovered power at issue in
Utility Air Regulatory Group v. EPA, 573 U.S. 302 (2014).
Gov’t’s Objs., ECF No. 69 at 21-22. Magistrate Judge Harvey’s
invocation of this authority, however, is only one of the
multitude of reasons why plaintiff is likely to succeed on the
merits of his claim.


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it contains not a word about the power of the [CDC] to expel

anyone who has come into the country.” R. & R., ECF No. 65 28

(citing 42 U.S.C., Chap. 6A, Subchap. II, Part G (entitled

“Quarantine and Inspection.”); 42 U.S.C. § 267 (entitled

“Quarantine stations, grounds, and anchorages”); 42 U.S.C. § 268

(entitled “Quarantine duties of consular and other officers”);

42 U.S.C. § 270 (entitled “Quarantine regulations governing

civil air navigation and civil aircraft”); 42 U.S.C. § 271

(entitled “Penalties for violation of quarantine laws”); 42

U.S.C. § 272 (entitled “Administration of oaths by quarantine

officers”)). The statutory scheme reflects Congress’s focus on

the public’s health, authorizing the CDC to create regulations

that allow for the “apprehension, detention, examination, or

conditional release of individuals” entering from foreign

countries to stop the spread of communicable diseases from those

countries, 42 U.S.C. § 264; and then in times of serious danger,

to halt the “introduction of persons” from designated foreign

countries. 42 U.S.C. § 265. Notably, Congress established

specific penalties for violations of any of the CDC’s

regulations pursuant to Sections 264, 265, 266 (entitled

“Special Quarantine Powers in Time of War”), and 269 (entitled

“Bills of health”). 42 U.S.C. § 271. However, not only is

expulsion not mentioned in the statute, but all of these

sections, including Section 265, are referred to as “quarantine


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laws,” suggesting that the CDC’s powers were limited to

quarantine and containment. Id.

                   c. Harmonizing Section 265 With Relevant
                      Immigration Statutes Provides Support for
                      Interpreting Section 265 to Likely Not
                      Authorize Expulsions

     In conducting his contextual analysis and in harmonizing

Section 265 with immigration statutes, Magistrate Judge Harvey:

(1) notes that several immigration statutes under Title 8 use

words such as “remove” or “return,” whereas none of these words

are found in Section 265, see R. & R., ECF No. 65 at 30; and (2)

finds the Government’s reading of Section 265 to include the

power to expel “unaccompanied minors like Plaintiff and the

putative class members, . . . conflicts with various rights

granted in the TVPRA and the INA,” id. at 32. Citing to dicta

Russello v. United States, 464 U.S. 16, 25 (1983), the

Government objects to this by arguing that “‘language in one

statute usually sheds little light upon the meaning of different

language in another statute.’” Gov’t’s Objs., ECF No. 69 at 22

(internal brackets omitted). In that vein, the Government argues

that (1) statutes such as Section 265 which is “designed to

prohibit the introduction of persons into the United States to

avoid the spread of a communicable disease into the country”

should not be compared to immigration statutes which are

“designed to confer immigration benefits based on an alien’s



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individual circumstances” because the statutes have different

aims, id. at 22-23; and (2) “statutes are already in harmony—the

immigration provisions are of general applicability, and Section

265 temporarily suspends their effects in limited circumstances”

such as a national emergency, id. at 24-25. The Government’s

arguments are unpersuasive.

     “It is a fundamental principle of statutory interpretation

that absent provision[s] cannot be supplied by the courts.”

Rotkiske v. Klemm, 140 S. Ct. 355, 360–61 (2019) (internal

citations and quotation marks omitted). First, as Plaintiff

points out and Magistrate Judge Harvey agrees, “the Supreme

Court routinely points to other statutes as evidence that

Congress knows how to legislate in particular ways.” Pl.’s

Combined Reply, ECF No. 52 at 15 (collecting cases); see also R.

& R., ECF No. 65 at 30 n.11. In view of current immigration

laws, which speak to deportation by using words such as “remove”

and “return,” see 8 U.S.C. § 1182(d)(3A) (“[t]he Attorney

General shall prescribe conditions . . . to . . . return . . .

inadmissible aliens”); § 1182(h)(2) (“No waiver shall be granted

. . . for a period of not less than 7 years immediately

preceding the date of initiation of proceedings to remove the

alien from the United States.”) (emphasis added); the Court

recognizes, as did Judge Nichols, that “[t]here's a serious

question about whether [Section 265’s] power includes the power


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. . . to remove or exclude persons who are already present in

the United States” and the “fact that Congress did not use

[words such as ‘return’ or ‘remove’] . . . . suggests at a

minimum that the power to remove is not granted by [S]ection

265,” J. B. B. C. Hr’g Tr., Dkt No. 20-cv-1509, ECF No. 39 at

50.

        The Government contends that Section 265 contains a

“clearly expressed congressional intention” to suspend the

effect of Title 8 because Section 265 authorizes the suspension

of other laws that provide for the right to introduce persons

into the country. Gov’t’s Objs., ECF No. 69 at 25. The

Government argues that Magistrate Judge Harvey was wrong to rely

on the absence of the phrase “[n]otwithstanding any other

provision of law” in Section 265 for the proposition that it was

not meant to suspend the effect of relevant Title 8 provisions

because that phrase would logically appear in a subsequently

enacted statute, but the relevant Title 8 provisions were

enacted subsequent to Section 265. Id. However, the phrase

“[n]otwithstanding any other provision of law” is not used to

supersede only earlier-enacted statutes, but is properly read as

“Congress’s indication that the statute containing that language

is intended to take precedence over any pre-existing or

subsequently-enacted legislation on the same subject.” U.S. v.

Puentes, 803 F.3d 597, 606 (11th Cir. 2015)(internal citation


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omitted). Further, the Government’s contention that Section 265

and the relevant provisions of Title 8 are not on the “same

subject” is unavailing since the Government intends to use

Section 265 to expel persons from the United States just as

Title 8 provides for the removal of persons.

     The Government also argues that Magistrate Judge Harvey had

no “sound reason” to conclude that the phrase “suspension of the

right to introduce” in Section 265 is not a “clearly expressed

congressional intention” to suspend the effect of Title 8

provisions. Gov’t’s Objs., ECF No. 69 at 26. Rather, according

to the Government, the legislative history of the predecessor

statute shows that Congress intended to authorize the temporary

suspension of the immigration laws. Id. at 26-27. However, the

language of Section 265 contains no “clear intention” to

authorize the suspension of the relevant provisions of Title 8.

Epic Systems Corp. v. Lewis, 138 S. Ct. 1612, 1632 (2018).

     The Government further argues that Magistrate Judge Harvey

improperly invoked the canon of “the specific governs the

general” to find that the relevant provisions of Title 8 take

precedence over Section 265 because his reasoning—that “[i]t is

not clear how Section 265 . . . could be considered more

specifically targeted to matters of immigration or as providing

more specific solutions,” R. & R., ECF No. 65 at 36;—is flawed

because “Section 265 is not designed to target immigration at


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all . . . it is a public health provision designed only to

address the specific and rare instance of a public health crisis

presented by the outbreak of a communicable disease.” Gov’t’s

Objs., ECF No. 69 at 28. Since the Government concedes that

“Section 265 is not designed to target immigration at all” it

clearly cannot be the more specific statute when it is being

relied upon to expel unaccompanied children who are entitled to

protections under the relevant provisions of Title 8. Id.

      Finally, the Government argues that Magistrate Judge Harvey

erred in dismissing its “argument that Section 265 would be

rendered a nullity if it must be applied in conjunction with

immigration provisions.” Id. at 28-29. However, as explained

supra, Magistrate Judge Harvey persuasively explained why his

interpretation does not result in Section 265 rendered a

nullity. R. & R., ECF No. 65 at 36-38.

                    d. The Government’s Interpretation of Section
                       265 is Likely Not Entitled to Chevron
                       Deference

      Magistrate Judge Harvey found that because the statute is

not ambiguous using traditional tools of statutory

interpretation, there was no need to reach step two of the

Chevron analysis.7 R. & R., ECF No. 65 at 38 n.15. He stated,


7Because he found the statute to be unambiguous, Magistrate
Judge Harvey improperly invoked the constitutional avoidance
doctrine. See McFadden v. United States, 576 U.S. 186, 197
(2015) (noting that the “canon of constitutional avoidance . . .


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however, that even if there were ambiguity, he would find, as

did Judge Nichols, that deference would not be justified because

the question for the claim is purely legal and does not depend

upon the CDC’s scientific and technical expertise. See id.

     The Government argues that, pursuant to Chevron, “simply

because a question is purely legal says nothing about whether

the Court should defer to an agency’s reasonable interpretation

of the statute it administers.” Gov’t’s Objs., ECF No. 69 at 30.

The Government contends that it is within CDC’s delegated

authority and expertise to interpret the word “introduction”

because in interpreting the word, the CDC “utilized [its]

scientific and technical knowledge and experience regarding

communicable diseases generally and applied it to the specific

public health threat here.” Id. at 31. Assuming for the purpose

of responding to the Government’s objections that the term is

ambiguous, the Court disagrees that the CDC’s interpretation

implicates its scientific and technical expertise because the

Government has not explained how that scientific and technical

expertise lead it to interpreting “introduction” to encompass

“expulsion.” Cf. Kisor v. Wilkie, 139 S. Ct. 2400, 2416 (2019)




has no application in the interpretation of an unambiguous
statute . . .”) (internal quotation marks omitted). Magistrate
Judge Harvey’s invocation of this canon, however, is only one of
the multitude of reasons why plaintiff is likely to succeed on
the merits of his claim.


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(noting that “[a] court must make an independent inquiry into

whether the character and context of the agency interpretation

entitled it to controlling weight”). Accordingly, CDC is not

entitled to deference with respect to its interpretation.

     For the reasons above, the Court ADOPTS Magistrate Judge

Harvey’s finding that Plaintiff is likely to succeed on the

merits of his claim.

     2. Irreparable Injury

     Plaintiff contends that, at the time he filed his

complaint, he was likely to suffer an irreparable injury if he

was expelled under Section 265 because he would have been “sent

summarily back to Guatemala without any meaningful opportunity

to assert his claims for relief, and where he would have faced

grave harm from those he sought to escape.” Pl.’s Prelim. Inj.

Mem., ECF No. 15-1 at 39. Further, Plaintiff provided

declarations demonstrating that returned children are

“frequently trafficked from rural to urban areas and across

borders or to border areas, where they are often sexually

exploited or subject to exploitative labor.” Lisa Frydman Decl.,

ECF No. 15-12 ¶ 6.

     Magistrate Judge Harvey found that Plaintiff “adequately

established a likelihood of irreparable injury should a

preliminary injunction not issue,” R. & R., ECF No. 65 at 41;

because “Plaintiff has presented declarations from attorneys


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representing numerous unaccompanied children who have crossed

the border and have bona fide claims for humanitarian relief,

including fear of persecution on the basis of protected

characteristics, but have been subjected to the [CDC Orders] and

threatened with deportation prior to receiving any of the

protections the immigration laws provide,” id. at 39.

     The Government’s sole objection is that Magistrate Judge

Harvey “improperly collapse[d] independent requirements such

that Plaintiff’s purported likelihood of success on the merits

apparently establishes irreparable harm.” Gov’t’s Objs., ECF No.

69 at 32.

     Magistrate Judge Harvey was persuaded that Plaintiff and

members of the Provisional Class demonstrated that in the

absence of injunctive relief they were likely to suffer

irreparable harm because they could be subject to “sexual and

other violence and face the possibility of torture and death.”

R. & R., ECF No. 65 at 39; see also Lisa Frydman Decl., ECF No.

15-12 ¶ 6. (averring that returned children are “frequently

trafficked from rural to urban areas and across borders or to

border areas, where they are often sexually exploited or subject

to exploitative labor.”). Furthermore, Magistrate Judge Harvey

recognized that “the burden of removal alone cannot constitute

the requisite irreparable injury.” R. & R., ECF No. 65 at 40

(quoting Nken v. Holder, 556 U.S. 418, 435 (2009)). Magistrate


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Judge Harvey appropriately distinguished the facts upon which

that holding rested from this situation because here, “the

putative class members are being returned without any

opportunity to apply for asylum or withholding of removal. Once

expelled from the United States and outside the jurisdiction of

the Court, it is not clear that a remedy can be provided.” R. &

R., ECF No. 65 at 40. The Government’s objections do not address

Magistrate Judge Harvey’s reasoning on this point. See

generally, Gov’t’s Objs., ECF No. 69; Reply, ECF No. 75.

     For the reasons above, the Court ADOPTS Magistrate Judge

Harvey’s finding that Plaintiff adequately established a

likelihood of irreparable injury should a preliminary injunction

not issue.

     3. Balance of the Equities and Public Interest

     Plaintiff contends that “[p]reventing [the Government] from

removing unaccompanied children until final disposition of this

case would not substantially injure the government” because: (1)

“unaccompanied children referred to ORR care are typically

released to sponsors under the TVPRA, which in most cases will

be a parent or close relative who can ensure the child will

self-quarantine,” Pl.’s Prelim. Inj. Mem., ECF No. 15-1 at 41;

(2) the CDC Orders do “not make DHS officers safer, and in fact,

likely increases any potential exposure” because expelling

unaccompanied children takes longer than transferring them to


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the ORR, id. at 42; and (3) “public health officials have

overwhelmingly noted there are numerous safety measures that can

be taken to avoid the spread of COVID-19, including

quarantines,” id.

       Magistrate Judge Harvey found that the [p]ublic interest

in enjoining unlawful government action, protecting non-citizen

children from being wrongfully removed, and preventing risks to

“public health caused by the [CDC Orders] weighed in Plaintiff’s

favor,” R. & R., ECF No. 65 at 41-42; and while “a preliminary

injunction will impose some hardships on [the Government], the

public interest and immitigable hardships to Plaintiff outweigh

the mitigable hardships to [the Government],” id. at 42.

      The Government objects on two grounds. First, that

Magistrate Judge Harvey erred in his evaluation of the public

interest because the children would be held in “congregate

settings in border settings ill-equipped” to deal with the

public health issues posed by the pandemic, resulting in an

increased risk of COVD-19 transmission and infection among the

children, others being held, DHS personnel, and the United

States population at large.8 Gov’t’s Objs., ECF No. 69 at 33.


8 The Government makes similar objections by arguing that
Magistrate Judge Harvey “erred in disregarding the ways in which
the CDC Order and its enforcement” protect persons other than
DHS personnel at the border; specifically “aliens, DHS personnel
and the American public, as well as the vital healthcare
resources of this Nation,” Gov’t’s Objs., ECF No. 69 at 34; and


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However, Magistrate Judge Harvey did consider but ultimately

rejected the Government’s position, noting that the Government’s

“argument is suspect given that the alternative to quarantine

that they propose—expulsion pursuant to the [CDC Order]—results

in unaccompanied minors often being detained longer while

awaiting expulsion than they would otherwise be, and the

concomitant lengthened exposure of class members to other non-

citizens, Customs and Border Patrol officers, and local medical

personnel.” R. & R., ECF No. 65 at 45.

     Second, the Government objects on the grounds that

Magistrate Judge Harvey failed to consider Deputy Director

Jallyn Sualog’s declaration as to why the use of hotels are

justified—specifically that the children can be placed in

individual rooms with doors that close and private facilities

for sleeping, eating and bathing. Gov’t’s Objs., ECF No. 69 at

34. Although Magistrate Judge Harvey did not specifically

reference Ms. Sualog’s declaration on this specific point, he

rejected the justification she provided, relying on persuasive

authority for the proposition that the Government “had failed to



that he “failed to consider the CDC Director’s conclusion that
conditional release is not a viable option here due to
significant uncertainty that covered aliens could effectively
self-quarantine, self-isolate, or otherwise comply with social
distancing guidelines, particularly in light of the CDC’s
inability to effectively monitor such a large number of people
so released,” id. at 34-35.


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demonstrate how hotels, which are otherwise open to the public

and have unlicensed staff coming in and out, located in areas

with high incidence of CIVD-19, are any better for protecting

public health than licensed facilities would be” and that

“[e]ven if the infection control protocols at [the Office of

Refugee Resettlement] come under stress, or are forced to make

some adjustments,” the program’s facilities are likely to

“remain far safer than unregulated hotel stays for both detained

minors and the general public.” R. & R., ECF No. 65 at 44

(quoting In Chambers Order at 4, Flores v. Barr, CV 85-4544

(DMG) (AGRx) (C.D. Cal. Sept. 21, 2020), ECF No. 990 (“In

Chambers Flores Order”) (quoting Flores, 2020 WL 5491445, at

*6).

       Next, the Government argues that Magistrate Judge Harvey’s

“conclusion regarding the public health implications of

transferring putative class members to the [ORR] is . . .

fraught with errors” for three reasons. Gov’t’s Objs., ECF No.

69 at 35. First, the Government argues that he erred by focusing

on the number of available beds rather than the rationale

articulated by Deputy Director Sualog—specifically that “the

increased rate of referrals to ORR of minors with higher rates

of exposure would create operational difficulties and make it

more difficult to implement sufficient containment protocols.”

Gov’t’s Objs., ECF No 69 at 35. Second, he “failed to take into


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account the judgment of Deputy Director Sualog that ORR had

already reached the threshold that puts ORR in significant

stress.” Id. Third, he was wrong to give weight to the rationale

articulated in Flores—specifically that Deputy Director Sualog’s

declaration lacked support from a “public health official”

because she attested that the COVD-19 infection control measures

were developed in consultation with the CDC. Id. at 36. Along

these lines, the Government contends that it was error for

Magistrate Judge Harvey to give no weight to Deputy Director

Sualog’s opinion given that she oversees the operations of the

agency. Id.

     The Court is not persuaded by the Government’s objections.

Magistrate Judge Harvey directly addressed Deputy Director

Sualog’s rationale, but rejected it on the same grounds as did

the court in Flores—specifically noting that “there are

sufficient numbers of currently under-utilized [ORR] facilities

such that transfers can be allocated among facilities to avoid

over-concentration or bottlenecking,” R. & R., ECF No. 65 at 46

(citing In Chambers Order at 4, Flores, No. CV 85-4544 DMG, ECF

No. 990, (AGRx) (C.D. Cal Sept. 21, 2020)). Magistrate Judge

Harvey also correctly pointed out that there was good reason to

not credit Deputy Director Sualog’s assertions because they were

“highly speculative” and not supported by “scientific or

empirical analysis.” R. & R., ECF No. 65at 46 (quoting In


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Chambers Flores Order at 3). The Court also finds it persuasive

that following the issuance of Magistrate Judge Harvey’s R. &

R., the United States Court of Appeals for the Ninth Circuit

agreed with the court’s relevant determination in Flores:

          [T]he government has not established that the
          additional referrals would actually overwhelm
          the ORR system. The same ORR official
          determined in March 2020, when the system was
          operating at 30 percent capacity overall, that
          the population of minors was sufficiently low
          to allow ORR to implement COVID-19 safety
          protocols effectively. She now urges us not to
          rely on that determination and points out that
          the population was “practically static” at
          that time, so the system's intake capacity was
          not burdened. Since March, however, the
          population of minors in ORR care has dropped
          tenfold; as of August 24, 2020, the system was
          operating at 3 percent capacity, with 10,000
          vacant beds. See Sept. 4 Order, 2020 WL
          5491445, at *8. The government has not
          satisfactorily explained why ORR's largely
          empty shelters are not capable of absorbing
          even as many as 140 additional minors a week
          for short-term stays before those minors are
          expelled under Title 42.        Nor has the
          government offered testimony from any public
          health official explaining why holding minors
          in hotels, which are open to the public,
          presents less risk of COVID-19 exposure and
          spread, both to the minors and to the public,
          than holding them in licensed facilities.

Flores v. Barr, No. 20-55951, 2020 WL 5883905, *5-*6 (9th Cir.

Oct. 4, 2020).

     The Government concludes that Magistrate Judge Harvey

“erroneously minimized the public health exigency posed by the

pandemic, which requires the Government to utilize its broad



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powers under Section 265 to effectively address the public

health dangers to aliens, DHS personnel and the American public”

noting that the Court should not “substitute its judgment for

that of Government officials tasked with ensuring the public

health and safety of our Nation.” Gov’t’s Objs., ECF No. 69 at

36-37. Magistrate Judge Harvey recognized that “a preliminary

injunction will impose hardships on the government and may force

it . . . to make difficult decisions about allocation of

resources to mitigate the risks caused by COVID-19.” R. & R.,

ECF No. 65 at 46. Rather than this being a situation where the

Court is substituting its judgment for that of government

officials; however, here the government officials are not acting

within the bounds set by Congress. Accordingly, the Court finds

that Magistrate Judge Harvey correctly weighed the public

interest in favor of “the general importance of [the CDC and

DHS’s] faithful adherence to its statutory mandate,” which does

not permit expulsion. Jacksonville Port Auth. v. Adams, 556 F.2d

52, 59 (D.C. Cir. 1977).

     For the reasons above, the Court therefore ADOPTS

Magistrate Judge Harvey’s finding that Plaintiff adequately

established that the public interest and immitigable hardships

to Plaintiff outweigh the mitigable hardships to the Government.

     Having found no clear error in this portion of the R. & R.,

the Court therefore ADOPTS Magistrate Judge Harvey’s


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recommendation, and GRANTS Plaintiff’s motion for preliminary

injunction. Mot., ECF No. 15.

     4. The Injunction Applies to the Final Rule

     Magistrate Judge Harvey recommends that “the preliminary

injunction . . . be crafted to . . . prohibit[] expulsion from

the United States under the Title 42 process whether that

conduct has been permitted in orders issued by the CDC Director

pursuant to the authority of the Interim Final Rule or the Final

Rule” because “there is no relevant material difference between

the CDC Director’s authority under the Final Rule and the

authority that the government here has argued he enjoys under

the Interim Final Rule.” R. & R., ECF No. 65 at 47-48. The

Government objects to this relief but has not identified any

meaningful way in which the Final Rule differs from the Interim

Final Rule. See Gov’t’s Objs., ECF No. 69 at 37. Accordingly,

the Court will enjoin expulsion from the United States under

Title 42 for CDC Orders issued pursuant to the Interim Final

Rule or the Final Rule. See Ne. Fla. Chapter of Associated Gen.

Contractors of Am. V. City of Jacksonville, 508 U.S. 656, 662

(1993).

     5. The Court Will Not Require Plaintiff to Post a Bond

     Federal Rule of Civil Procedure 65(c) provides that “[t]he

court may issue a preliminary injunction . . . only if the

movant gives security in an amount that the court considers


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proper to pay the costs and damages sustained by any party found

to have been wrongly enjoined.” Fed. R. Civ. P. 65(c). “Courts

in this Circuit have found the Rule ‘vest[s] broad discretion in

the district court to determine the appropriate amount of an

injunction bond,’ including the discretion to require no bond at

all.” Simms v. District of Columbia, 872 F. Supp. 2d 90, 107

(D.D.C. 2012) (Sullivan, J.) (quoting DSE, Inc. v. United

States, 169 F.3d 21, 33 (D.C. Cir. 1999) (internal citation

omitted). Here, Plaintiff is a child allegedly fleeing

prosecution in his home country and does not have the ability to

post a bond. Additionally, he is seeking to vindicate important

rights under the immigration laws. Accordingly, the Court will

waive the requirement for an injunction bond. See id.

IV.     Conclusion

        For the foregoing reasons the court ADOPTS the Report and

Recommendation, ECF No. 65 and PROVISIONALLY GRANTS Plaintiff’s

Motion to Certify Class, ECF No. 2, and GRANTS Plaintiff’s

Motion for Preliminary Injunction, ECF No. 15. The Government’s

request to stay the Court’s Order while it decides whether to

appeal and/or pending appeal is DENIED for substantially the

same reasons as those articulated in this Opinion. An

appropriate Order accompanies this Memorandum Opinion.




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     SO ORDERED.

Signed:   Emmet G. Sullivan
          United States District Judge
          November 18, 2020




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